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11
12                        UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA
14                                WESTERN DIVISION
15 UNIVERSAL CITY STUDIOS                   Case No. 2:21-cv-09361-AB (MRWx)
   PRODUCTIONS LLLP; UNIVERSAL
16 CITY STUDIOS LLC; UNIVERSAL
   TELEVISION LLC; UNIVERSAL                JOINT STIPULATION
17 CONTENT PRODUCTIONS LLC;                 REGARDING ENTRY OF
   DREAMWORKS ANIMATION LLC;                PRELIMINARY INJUNCTION
18 DISNEY ENTERPRISES, INC.;
   PARAMOUNT PICTURES
19 CORPORATION; AMAZON CONTENT              Judge:        Hon. Andre Birotte Jr.
   SERVICES LLC; APPLE VIDEO
20 PROGRAMMING LLC; WARNER
   BROS. ENTERTAINMENT INC.;                Action Filed: December 2, 2021
21 NETFLIX US, LLC; COLUMBIA                Trial Date: None Set
   PICTURES INDUSTRIES, INC.; and
22 SCREEN GEMS, INC.,
23                        Plaintiffs,
24         vs.
25 DWAYNE ANTHONY JOHNSON d/b/a
   ALLACCESSTV and QUALITY
26 RESTREAMS; and DOES 1-20,
27                        Defendants.
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  1                                    STIPULATION
  2         WHEREAS, on December 2, 2021, Plaintiffs Universal City Studios
  3 Productions LLLP, Universal City Studios LLC, Universal Television LLC,
  4 Universal Content Productions LLC, DreamWorks Animation LLC, Disney
  5 Enterprises, Inc., Paramount Pictures Corporation, Amazon Content Services LLC,
  6 Apple Video Programming LLC, Warner Bros. Entertainment Inc., Netflix US, LLC,
  7 Columbia Pictures Industries, Inc., and Screen Gems, Inc. (collectively, “Plaintiffs”)
  8 brought this action alleging copyright infringement against Dwayne Anthony
  9 Johnson d/b/a AllAccessTV and Quality Restreams (“Defendant”) (Plaintiffs and
10 Defendant are referred as “Party” or “Parties.”), and DOES 1-20;
11          WHEREAS, on December 8, 2021, Plaintiffs filed a Motion for Preliminary
12 Injunction and supporting documents, ECF Nos. 14-17, on January 28, 2022,
13 Defendant filed an Opposition, ECF No. 36, and on February 4, 2022, Plaintiffs filed
14 a Reply and supporting documents, ECF No. 43;
15          WHEREAS, in order to streamline this litigation and reduce the cost to the
16 Parties and the Court in adjudicating the claims and requests in Plaintiffs’ Motion for
17 Preliminary Injunction Plaintiffs and Defendant agree that good cause exists for entry
18 of the attached [Proposed] Preliminary Injunction;
19          THEREFORE, the Parties by and through their respective counsel of record,
20 STIPULATE AND AGREE to the following:
21           1.   The Parties agree to entry of a stipulated preliminary injunction in the
22 form of the attached [Proposed] Preliminary Injunction, which the Parties request the
23 Court enter.
24           2.   Defendant denies liability and makes no admission of liability by entry
25 of this Stipulation.
26           3.   Plaintiffs agree that Defendant makes no admission of liability by entry
27 of this Stipulation.
28           4.   The Parties agree that Defendant expressly reserves the right to contest


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  1 Plaintiffs’ request for permanent injunctive relief on any grounds and entry of this
  2 Stipulation shall not limit the Parties’ ability to make any argument relating to
  3 injunctive relief.
  4          5.   The Parties agree that nothing in this Stipulation shall prejudice or
  5 hinder any Party’s ability to appeal or challenge on appeal any order or judgment in
  6 this case.
  7          6.   The Parties agree that, except as expressly set forth herein, nothing in
  8 this Stipulation shall prevent any Party from advancing any defense or argument in
  9 accordance with any Court Scheduling Order, the Federal Rules of Civil Procedure,
10 and/or the Court’s local rules. The Parties reserve all rights relating to all other
11 remaining claims and defenses.
12           7.   The Parties agree that other than in the above-styled case or any appeals
13 therefrom, this Stipulation may not be used in connection with any other lawsuit or
14 proceeding.
15         8. The Parties agree that Plaintiffs are not required to post a bond relating to the
16 preliminary injunction.
17         9. The Parties agree that, subject to the Court’s entry of the [Proposed]
18 Preliminary Injunction, the hearing on Plaintiffs’ Motion for Preliminary Injunction,
19 currently set for February 18, 2022, may be vacated and taken off-calendar.
20 IT IS SO STIPULATED.
21
      DATED: February 17, 2022                 DAVIS WRIGHT TREMAINE LLP
22
                                               By: /s/ Sean M. Sullivan
23                                                          Sean M. Sullivan
24                                                   Elizabeth A. McNamara
                                                     Sean M. Sullivan
25                                                   Samantha Lachman
                                                     DAVIS WRIGHT TREMAINE LLP
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                                                     Attorneys for Plaintiffs
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14                                            Attorneys for Defendant
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  1                                L.R. 5-4.3.4 Attestation
  2         Pursuant to Local Rule 5-4.3.4(a)(2)(i), I hereby attest that all other
  3 signatories listed on this document, and on whose behalf the filing is submitted,
  4 concur in the filing’s content and have authorized the filing.
  5
      DATED: February 17, 2022                DAVIS WRIGHT TREMAINE LLP
  6
                                              By: /s/ Sean M. Sullivan
  7                                                        Sean M. Sullivan
  8                                                 Elizabeth A. McNamara
                                                    Sean M. Sullivan
  9                                                 Samantha Lachman
                                                    DAVIS WRIGHT TREMAINE LLP
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                                                    Attorneys for Plaintiff
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